
PER CURIAM.
Affirmed. See §§ 836.05, 772.102, .103, .104, Fla. Stat. (1997); Metropolitan Life Ins. Co. v. McCarson, 467 So.2d 277 (Fla.1985); Churruca v. Miami Jai-Alai, Inc., 353 So.2d 547, 550 (Fla.1977); Rushing v. Bosse, 652 So.2d 869, 875-876 (Fla. 4th DCA 1995); Ponzoli &amp; Wassenberg, P.A. v. Zuckerman, 545 So.2d 309, 310 (Fla. 3d DCA), review denied, 554 So.2d 1170 (Fla.1989).
